                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           Nos. 3:01-00166 and 3:02-00053
                                                 )           JUDGE CAMPBELL
                                                 )
JIMMY RAY PATTERSON                              )


                                             ORDER

       Pending before the Court is a Motion requesting termination of supervised release, filed

by the Defendant, pro se, in the two above-styled cases. The Government has filed a Response in

each case indicating that it has no objection to the Defendant’s request.

       The Motions are GRANTED. Accordingly, the remaining term of Defendant’s

supervised release is terminated in both of the above-styled cases.

       It is so ORDERED.



                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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